                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

  S.B., a minor student, by and through his parents,   )
  M.B. and L.H. et al.,                                )
                                                       )
         Plaintiffs,                                   )
                                                       )
  v.                                                   )   No. 3:21-CV-00317-JRG-DCP
                                                       )
  GOVERNOR BILL LEE, in his official capacity          )
  as Governor of Tennessee, and KNOX COUNTY            )
  BOARD OF EDUCATION,                                  )
                                                       )
         Defendants.                                   )

                                              ORDER

         This matter is before the Court on Defendant Knox County Board of Education’s Motion

  for Clarification and/or Guidance [Doc. 121]. The mask mandate and the reporting requirement

  remain in full effect. The Clerk of Court is DIRECTED to terminate the Knox County Board of

  Education’s motion [Doc. 121].

         So ordered.

         ENTER:


                                                      s/J. RONNIE GREER
                                                 UNITED STATES DISTRICT JUDGE




Case 3:21-cv-00317-JRG-DCP Document 122 Filed 03/08/22 Page 1 of 1 PageID #: 1998
